Case No. 1:23-cv-03458-NYW-SBP Document 22 filed 05/29/24 USDC Colorado pg 1 of 3




                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   BOARD OF TRUSTEES,                                     )
   SHEET METAL WORKERS’                                   )
   LOCAL 9 PENSION TRUST, et al.                          )
                                                          )
                   Plaintiffs,                            )
                                                          )       Case No. 1:23-cv-03458-NYW-SBP
   v.                                                     )
                                                          )
   AMERICAN VETERAN HEATING & AIR,                        )
                                                          )
                   Defendant.                             )

                       PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT

            Plaintiffs,1 pursuant to Fed. R. Civ. P. 55 and by their attorneys Slevin & Hart, P.C., hereby

   submit this Memorandum of Points and Authorities in Support of their Motion for Default

   Judgment against Defendant American Veteran Heating & Air (“Defendant”) and respectfully

   request that the Court enter a final judgment for Plaintiffs in the amount of at least $220,753.49.

   In support of this Motion, Plaintiffs rely upon the Memorandum and Declarations being submitted

   herewith.




   1
           Plaintiffs are the following: (i) the Board of Trustees of the Sheet Metal Workers’ Local
   9 Pension Trust (the “Pension Fund”); (ii) the Board of Trustees of the Colorado Sheet Metal
   Workers’ Local 9 Health Fund (the “Health Fund”); (iii) the Joint Apprenticeship and Training
   Committee of the Colorado Sheet Metal Workers Training Fund (the “Training Fund”); (iv) the
   SMART Local 9 Vacation Plan (the “Vacation Plan”); (v) the Colorado Sheet Metal Industry Fund
   (the “Industry Fund”); and (vi) the SMACNA Colorado Drug Testing Fund (the “Drug Testing
   Fund”). The Pension Fund, Health Fund, and Training Fund are referred to collectively as the
   “ERISA Funds.” The ERISA Funds, Vacation Plan, Industry Fund, and Drug Testing Fund are
   referred to collectively as the “Funds.”

   23055742v1
Case No. 1:23-cv-03458-NYW-SBP Document 22 filed 05/29/24 USDC Colorado pg 2 of 3




   Dated: May 29, 2024               Respectfully submitted,

                                     /s/ Richard S. Siegel
                                     Richard S. Siegel
                                     SLEVIN & HART, P.C.
                                     1625 Massachusetts Avenue, NW, Suite 450
                                     Washington, DC 20036
                                     Telephone: (202) 797-8700
                                     Facsimile: (202) 234-8234
                                     rsiegel@slevinhart.com
                                     Attorney for Plaintiffs




   23055742v1
Case No. 1:23-cv-03458-NYW-SBP Document 22 filed 05/29/24 USDC Colorado pg 3 of 3




                                  CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on May 29, 2024, the foregoing was served by U.S. Mail and

   by email upon the following party at the mailing address it has registered with the Colorado

   Secretary of State.

            American Veteran Heating & Air
            150 Cascade Ct
            Unit B
            Colorado Springs, CO 80907
            Email: info@americanveteranheatingandair.com
            Defendant

                                             /s/ Richard S. Siegel
                                             Richard S. Siegel




   23055742v1
